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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                  SHERMAN DIVISION

 THE STATE OF TEXAS, et al.,                      §
                                                  §
        Plaintiffs,                               §
                                                  §
 v.                                               §           Civil Action No. 4:20-cv-00957-SDJ
                                                  §
 GOOGLE LLC,                                      §
                                                  §
        Defendant.                                §

                                      [PROPOSED] ORDER

        This Court, having considered Defendant Google LLC’s Motion for Dismissal Pursuant to

 Rule 12(b)(1), any responses and replies thereto, and all other pleadings and papers on file, hereby

 finds that the Motion should be GRANTED.

        It is hereby ORDERED that Defendant Google LLC’s Motion for Dismissal Pursuant to

 Rule 12(b)(1) is GRANTED. This case is therefore DISMISSED in its entirety.
